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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

WINDELs MARX LANE & MITTENDORF, LLP

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Attorneys for Plaintiff Top & Top Enterprise, Ltd.

__________________________________ X
TOP & TOP ENTERPRISE, LTD,
Plaintiff, Civil Action No.
v. z
VENUS ACCESSORY CORP.,
Defendant.
_________________________________ §

C()MPLA!N'I` AN`D JURY DEMAND

Plaintiff Top & Top Enterprise, LTD, a New Yorl< corporation engaged in the business of
importation, distribution and sales of accessories, custom jewelry, cosmetics and beauty supplies,
With a principal place of business at 1239 Broadway, Suite 700, City, County and State of NeW
York, l()OOl ("Plaintiff‘), by and through its attorneys, Windels l\/larx Lane & l\/littendorf, LLP,
complaining of defendant Venus Accessory Corp., a New Jersey corporation engaged in the
business of importation, distribution and sales of accessories, custom jewelry, cosmetics and
beauty supplies With a principal place of business at 376 12th Street, borough of Cressl<ill,

County of Bergen, State ofNeW Jersey, 07626 (“Venus” or “Defendant”), states as follows:

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NATURE OF ACTION

1. This is an action for Copyright Infringement under the Copyright Act of the
United States, 17 U.S.C. § 101, et seq., trademark infringement under the Lanham Act, 15
U.S.C. §1114, for state and common law trademark infringement, and for unfair competition
Plaintiff seeks all available statutory damages, including but not limited to compensatory,
consequential, and punitive damages, reimbursement of attorneys' fees and costs, and such other
relief as the Court may deem equitable and just.

2. Plaintiff is a New York corporation focusing primarily on the importation,
distribution and sales of accessories, custom jewelry, cosmetics and beauty supplies

3. Plaintiff owns two United States Copyrights for photos for use on its product
labeling under Certiiicate of Registration Number VA0002142985 effective date l\/larch 19, 2019
and Certificate of Registration Number VAOOO2143267 effective date l\/larch 19, 2019 attached
herewith as Exhibits A and B, respectively (the “Copyrighted Images”).

4. Pursuant to 17 U.S.C. §410, the registration certificates for the Copyrighted
Images are prima facie evidence of the validity of the registration, of Plaintiff’s ownership of the
registered copyright, and of Plaintiff s exclusive right to use the Copyrighted lmages in
commerce in connection with the services specified in the registration certificate

5. Plaintiff has developed a package design, aesthetic appearance and trade dress for
various products at considerable expense in time and resources. Defendant has unlawfully
appropriated Plaintiff s trade dress for its own products

6. Plaintiff brings this action against Defendant, Venus Accessory Corp., that is
engaged in the same industry as Plaintiff, which is the business of importing, distributing and

selling of accessories, custom jewelry, cosmetics and beauty supplies, for its willful violation of

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Plaintiff’s rights in the Copyrighted images as well as its use of Plaintiffs distinctive trade dress
for Defendant’s own products
JURISDICTI()N AND VENUE

7. This Court has jurisdiction over the subject matter of this action under l7 U.S.C.
§§501 et seq, 15 U.S.C. §§1116 and 1121 and under 28 U.S.C. §§1331 and 1338.

8. This Court has supplemental jurisdiction over the State law claims set forth herein
under 28 U.S.C. §§1338(b) and 1367(a).

9. Defendant is subject to personal jurisdiction in this District because Defendant is
a New Jersey citizen and conducts and solicits business in New Jersey and has substantial
contacts within this District.

10. Venue properly lies in this judicial district under 28 U.S.C. §1391(b), in that
Defendant is a New Jersey corporation and has its principal place of business in New Jersey, and
a substantial part of the events giving rise to this action and has occurred here and continues to
occur here, and in that Defendant is subject to personal jurisdiction here and resides here under
28 U.S.C. §1391(0) because Defendant is a citizen of New Jersey and also conducts and solicits
business in this District and has substantial contacts within this District.

PARTIES

1 1. Plaintiff Top & Top Enterprise, LTD, is a New York corporation with a principal
place of business at 1239 Broadway, Suite 700, City, County and State of New York, 10001, and
is engaged in the business of importation, distribution and sales of accessories, custom jewelry,
cosmetics and beauty supplies

12. Defendant Veiius Accessory Corp., is a New Jersey corporation with a principal
place of business at 376 12th Street, borough of Cresskill, County of Bergen, State of New
Jersey, 07626 and additional business address at 170 Kenneth St., Hackensack, County of

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Bergen, State of New Jersey 07601, doing business under the “Chloe” brand, engaged in the
business of importing, distributing, and selling of accessories, custom jewelry, cosmetics and

beauty supplies
COUNT ONE
(Infringement of Federallv Registered Copyright;
Copyright Act, 15 U.S.C 88106 et seq.)

13. On or about March 21, 2017 photographs of a model were taken on behalf of
Plaintiff for future use in advertising and packaging of products sold by Plaintiff (the “l\/lodel
Photograph”).

14. The original photograph taken was further modified electronically and changed by
employees of Plaintiff between l\/larch 2017 and July 2018 to create a new image that was also
for use in advertising and packaging of products sold by Plaintiff (the “l\/lodel with Headwrap
Image”) (collectively the l\/lodel Photograph and the Models with Headwrap Image are referred
to as the “Copyrighted Images”).

15. Plaintiff complied in all respects with the United States Copyright Act of 1976
and all other laws governing copyright, by applying for copyright registration of the l\/lodel
Pliotograph on March 19, 2019, making the required deposit, and receiving from the Register of
Copyrights a Certiiicate of Registration, No. VA0002142985, dated l\/larch 19, 2019, a copy of
which is attached herewith as Exhibit C and incorporated by this reference Publication was
made with notice in strict and full compliance with the federal Copyright Act of 1976.

16. Plaintiff complied in all respects with the United States Copyright Act of 1976
and all other laws governing copyright, by applying for copyright registration of the l\/lodel with
Headwrap lmage on l\/Iarch 19, 2019, making the required deposit, and receiving from the

Register of Copyrights a Certificate of Registration, No.VA0002143267, dated l\/larch 19, 2019,

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a copy of which is attached herewith as Exhibit D and incorporated by this reference
Publication was made with notice in strict and full compliance with the federal Copyright Act of
1976.

17. Since July 2018, the Copyrighted lmages have been published by Plaintiff, and all
copies of the images made by Plaintiff or under its authority or license have been published in
strict conformity with the provisions of the United States Copyright Act of 1976 and all other
laws governing copyright

18. Since the creation of each of the Copyrighted linages, Plaintiff has been and still
is the sole owner of all right, title and interest in and to the copyright in such works.

19. At least since November 1, 2018, Defendant infringed the above
mentioned copyrights by copying the Copyrighted lmages and placing the Copyrighted linages
on packaging for Defendant’s own products in the market A copy of one of Defendant’s
infringing product labels containing the copied Copyrighted lmages (the “lnfringing lmage”) is
attached herewith as Exhibit E.

20. Defendant’s products featuring the lnfringing lmage directly compete with
Plaintiff s products that feature the Copyrighted lmages.

21. Plaintiff has notified Defendant that Defendant has infringed the copyright of
Plaintiff, and demanded that Defendant cease its infringement Defendant has continued
to infringe the copyright

22. At least since November l, 2018 Defendant has been selling products containing
the lnfringing lmage on the product label and has thereby been engaged in unfair trade practices
and unfair competition against Plaintiff to Plaintiffs irreparable damage, which cannot be

adequately calculated or compensated in money damages

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23. Upon information and belief, Defendant has produced, reproduced, prepared
derivative works based upon, distributed and publicly displayed Plaintifi’,"s protected work
without Plaintiff’s consent Defendant’s acts violate Plaintiff”s exclusive rights under the
Copyright Act, 17 U.S.C. §§106 and 501, including Plaintiff s exclusive right to produce_,
reproduce, and distribute copies of its work, to create derivative works, and to publicly display
its work.

24. Defendant’s infringement has been undertaken knowingly, and with intent to
financially gain from Plaintiff’s protected copyrighted work. Defendant has failed to exercise its
right and ability to supervise persons within its control to prevent infringement, and it did so with
intent to further its financial interest in the infringement of the Copyrighted lmages.
Accordingly, Defendant has directly, contributorily, and vicariously infringed Plaintiff s
copyrighted work.

25. As a result of Defendant’s actions, Plaintiff has suffered damages

26. Because of Defendant’s infringing acts, Plaintiff is entitled to its actual damages
and Defendant’s profits attributable to these infringing acts in an amount to be proved at trial,
and other relief allowed under the Copyright Act.

COUNT TWO
(Infringement of Plaintiff’s Trade Dress;
Lanham Act, 15 U.S.C 81125)

27. Plaintiff repeats the allegations set forth in Paragraphs 1 through 26 as if fully set
forth lierein.

28. This Count, arising under Section 32 of the Lanham Act, 15 U.S.C. §1125, is for
infringement of Plaintiffs trade dress.

a. Development of Plaintiff’s T he Pastel Shop Cosrnetic Facial Mask and Make Up

Remover Towelettes Trade Dress and Plaintiff’s AB Ana Beautv Headwraps Trade
Dress

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29, Plaintiff has been engaged in the business of importation, distribution and sales of
accessories, custom jewelry, cosmetics and beauty supplies since 2015.

30. Plaintiffs trade dress packaging for its The Pastel Shop Cosmetic Facial l\/lasks
and l\/Iake Up Remover Towelettes and AB Ana Beauty Headwraps was the result of thorough
design and development over many months.

31. Plaintiff engaged design professionals internally and through third~party design
firms to design and implement the distinctive trade dress used for the packaging of its line of
Cosmetic Facial l\/lasks. Large amounts of time, money and company resources were expended
in this endeavor. Examples of the trade dress for Plaintiff s The Pastel Shop Cosmetic Facial
Masks is attached herewith as Exhibit F.

32. The distinctive elements of the trade dress Plaintiff s The Pastel Shop Cosmetic
Facial Masks include: placement of photograph of model featuring pulled back dark hair with
mask partially peeled from bottom left side of face, superimposed brand name over model
photograph on front of packaging, repeated brand name at top of front side of packaging, and the
coloring of packaging to match the type of mask (e.g. gold colored box for the gold mask).

33. Similarly, Plaintiff also expended time, money and resources in developing the
distinctive design and packaging for its line of l\/lake Up Reniover Towelettes. Examples of the
trade dress for Plaintiffs The Pastel Shop l\/Iake Up Remover Towelettes is attached herewith as
Exhibit G.

34. The distinctive elements of the trade dress Plaintiff’s The Pastel Shop l\/lake Up
Remover Towelettes include: stylized broken line outlining label area on front package; stylized
display of fragrance ingredient (e.g. lavender flowers, cucumber slices, etc) inside broken line

outline area on front label; drawn image of woman’s face with pulled back dark hair on lower

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portion of broken line outline area on front label front; repeated brand name at top of front side
of packaging; the coloring of packaging to match the type fragrance towelette ingredient (e.g.
purple package for lavender fragrance towelette, yellow package for honey fragrance towelette;
green package for cucumber fragrance towelette, etc.).

35. Plaintiff engaged photographers and internal design professionals to design and
implement the distinctive trade dress used for the packaging of its AB Ana Beauty line of
Headwraps Large amounts of time, money and company resources were expended in this
endeavor. Examples of the trade dress for Plaintiff’ s AB Ana Beauty line of Headwraps is
attached herewith as Exhibit H.

36. The distinctive element of the trade dress Plaintiff’s AB Ana Beauty Headwraps
included central display of the Copyrighted lmages (§e_e exhibits A & B) on the packaging

37. Plaintiff first used the distinctive trade dress for The Pastel Shop Cosmetic Facial
l\/lasks on packaging of products for sale in the United States on May 22, 2017.

38. Plaintiff first used the distinctive trade dress for The Pastel Shop l\/lake Up
Remover Towelettes on packaging of products for sale in the United States on l\/larch 13, 2017.

39. Plaintiff first used the distinctive trade dress for AB Ana Beauty Headwraps on
packaging of products for sale in the United States in July 2018.

40. Plaintiff’s sales of The Pastel Shop Facial l\/lasks and l\/lake Up Remover
Towelettes and AB Ana Beauty Headwraps are made throughout the United States of America.

41. The distinctive trade dress for The Pastel Shop Facial l\/Iasks and l\/lake Up
Remover Towelettes and AB Ana Beauty Headwraps are non-functional

42. As a result of years of use and extensive sales of products of the highest quality,
complemented by advertising and promotion, the trade dress for Plaintiff’s The Pastel Shop
Facial Masks and Make Up Remover Towelettes and AB Ana Beauty Headwraps has come to be

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recognized by consumers as exclusively identifying Plaintiffs products of the highest quality
originating exclusively from Plaintiff

43. Plaintiff has expended significant resources promoting its products and the
exclusive aesthetic appearance of its trade dress associated with its The Pastel Shop brand Facial
l\/lasks and l\/Iake Up Remover Towelettes and AB Ana Beauty Headwraps ln the beauty supply
market, retail outlets and consumers are aware of Plaintiff s aesthetic trade dress and associate
said trade dress with Plaintiff’s products Accordingly, the aesthetic appearance of Plaintiff s
trade dress has an inherently distinctive trade dress, or in the alternative, an acquired distinctive
trade dress, in the relevant marketplace

44. l\/loreover, as a result of the above, consumers have come to recognize that
packaging featuring the same or similar trade dress as Plaintiff”s is an extension of Plaintiffs
trade dress designating beauty supplies of the highest quality originating exclusively from
Plaintiff.
b. Defendant's Unauthorized Adoption of Plaintiff’s The Pastel Shop Cosmetic Facial

Mask and Make Up Remover Towelettes and AB Ana Beauty Headwraps Trade
Dress

45. lt came to Plaintiffs attention that Defendant's products, including a facial mask,
make up removing towelette and headwraps, featured trade dress nearly identical to Plaintiff s
trade dress were placed on the market after Plaintiff s products had been brought to market
Examples of Defendants’ infringing trade dress for facial masks, make up removing towelette
and headwraps is attached herewith as Exhibit I, J and E respectively.

46. As Defendant's actions constituted a clear violation of the trade dress rights held
by Plaintiff, Plaintiffs counsel wrote a cease and desist letter to Defendant Plaintiff demanded
that Defendant cease and desist from using the infringing trade dress in connection with sales of

beauty supplies

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47. Discussions between the parties’ counsel followed, although no compromise was
reached. Defendant has refused to cease and desist, and has continued its infringement
c. Likelihood of Confusion and Actual Confusion

48. Plaintiff and Defendant's products are similar and move through similar channels
of trade to similar classes of businesses and consumers, and Plaintiff and Defendant are in direct
competition with respect to their products

49. Defendant's trade dress is so similar to Plaintiffs as to be likely to cause
confusion, mistake or deception as to the source or origin of Defendant's products, in that the
public and others are likely to believe that Defendant's products are provided by, or sponsored
by, or approved by, or licensed by, or affiliated with or in some other way legitimately connected
with Plaintiff, to Plaintiff s irreparable harm.

50. Actual confusion has already occurred. On at least one occasion, Plaintiff was
contacted by a consumer harmed after applying Defendant’s beauty product. The harmed
consumer demanded a refund from Plaintiff because the believed that the Defendant’s sub-
standard product had originated from Plaintiff

51. On other occasions, the fact that Defendant’s products originate from the Peoples
Republic of China, which has a reputation in the beauty products industry for inferior quality,
has harmed Plaintiff s brand. Plaintiff s products are all sourced from the Republic of Korea
which has a reputation in the beauty products industry for superior quality. Consumers have
complained to Plaintiff that Plaintiff began to sell an inferior product originating from China
when the offending product was actually sold by Defendant

52. Defendant, by the foregoing acts and others, has willfully and knowingly violated
and infringed and threatened to further infringe the rights of Plaintiff to its federally registered
service mark in violation of section 32 of the Lanham Act, 15 U.S.C. §1125, with the intention of

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deceiving and misleading the retail beauty supply community, as well as the public-at-large, and
wrongfully trading on the goodwill and reputation of Plaintiff

53. By its tortious acts, Defendant has caused, and unless restrained by the Court, will
continue to cause serious and irreparable injury and damages to Plaintiff and to the goodwill
associated with Plaintiff‘s trade dress

COUNT THREE
(New Jersev Unfair Competition; N.J.S.A. 56:4-1, et seq.)

54. Plaintiff repeats the allegations set forth in Paragraphs l through 53 as if fully set
forth herein.

55. Defendant's use of the infringing trade dress in connection with distribution and
sale of beauty supplies causes a likelihood of confusion or a misunderstanding as to the source,
Sponsorship, approval, affiliation, connection, and association of those products Defendant's
foregoing acts constitute deceptive trade practices and unfair competition in the conduct of trade
and commerce in violation of state law, including New Jersey Statute §56:4-1, _e_t seq

56. Upon information and belief, Defendant's foregoing acts have been, and continue
to be, willful and deliberate, and have caused Plaintiff damages

57. Defendant’s foregoing acts have cause Plaintiff damages

COUNT FOUR
(Common Law Trademark, Service Mark and Trade Name
Infringement and Unfair Competition)

58. Plaintiff repeats the allegations set forth in Paragraph 1 through 57 as if fully set
forth herein.

59. Defendant's aforesaid activities constitute unfair competition and an infringement

of Plaintiffs common law trade name, trade dress and mark owned by Plaintiff as referred to

herein, and have caused Plaintiff damages

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COUNT FIVE
(Unfair Competition Under 15 U.S.C. 15 U.S.C 81125(a))

60. Plaintiff repeats the allegations set forth in Paragraph 1 through 59 as if fully set
forth herein.

61. Plaintiff has expended significant resources promoting its The Pastel Shop brand
Cosmetic Facial Masks and l\/lake Up Remover Towelettes and AB Ana Beauty Headwraps
featuring the aesthetic appearance of the trade dress therein. In view of the associated niche
market, many persons in the beauty supply industry are aware of Plaintiff’ s distinctive trade
dress

62. Defendant’s actions regarding the use of infringing trade dress, as described
herein, are likely to have misled, and will continue to mislead many persons in the beauty supply
industry to believe Defendant received permission, license, or other consent from Plaintiff to
make, use, sell, offer for sale, or import into the United States, the products featuring the
infringing trade dress

63. Defendant’s use of the infringing trade dress through sale, offering for sale, and
the like, is likely to deceive relevant retail outlets and consumers in the beauty supply industry as
to Defendant’s affiliation with Plaintiff or as to a sponsorship or an approval of the products
featuring the infringing trade dress by Plaintiff

64. As a result of the Defendant’s actions, Plaintiff has suffered injury, including
irreparable injury, and damages, including lost profits, reasonable royalties and other damages as

set forth herein.

COUNT SIX
(Unfair Cornpetition Under New Jersev Common Law)

65. Plaintiff repeats the allegations set forth in Paragraph 1 through 64 as if fully set

forth herein.

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66. Defendant's aforesaid activities constitute unfair competition and unfair business

practices contrary to the common law of New Jersey.

67. As a result of the Defendant’s actions, Plaintiff has suffered injury, including
irreparable injury, and damages, including lost profits, reasonable royalties and other damages as

set forth herein.

WHEREFORE, Plaintiff prays for judgment as follows:

A. That Defendant, its officers, agents, servants, affiliates, employees, attorneys and
representatives and all those in privity or acting in concert with Defendant, and each and all of
them, be preliminarily and permanently enjoined and restrained from directly or indirectly:

1) Using trade dress confusineg similar to Plaintiff s trade dress in
connection with the advertising, promotion, offering, distribution
or sales of cosmetics and beauty supplies;

2) Holding themselves out as the owners of, or otherwise authorized
to use the trade dress in connection with distribution or sales of
cosmetics and beauty supplies;

3) Performing any actions or using any words, names, styles, titles,
marks, or trade dress which are likely to cause confusion, to cause
mistake or to deceive, or to otherwise mislead the trade or public
into believing that Plaintiff and Defendant are one and the same or
in some way connected, or that Plaintiff is sponsor of Defendant,
or that Defendant is in some manner affiliated or associated with or
under the supervision or control of Plaintiff, or that the services of
Defendant originate with Plaintiff, or are conducted or offered with
the approval, consent or authorization, or under the supervision of
Plaintiff, or are likely in any way to lead the trade or the public to
associate Defendant with Plaintiff.

4) Using any words, names, styles, titles, marks or trade dress which
create a likelihood of injury to the business reputation of Plaintiff
or a likelihood of dilution of Plaintiffs trade dress and the goodwill
associated therewith

5) Using any trade practices whatsoever including those complained
of herein, which tend to unfairly compete with or injure Plaintiff‘s
business and the goodwill appertaining thereto.

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B. Defendant be required to pay to Plaintiff such damages as Plaintiff has sustained
in consequence of Defendant's infringement of Plaintiffs copyright and Defendant's unfair trade
practices and unfair competition, and to account for:

1) All gains, profits and advantages derived by Defendant through
such trade practices and unfair competition; and

2) All gains, profits and advantages derived by Defendant through
Defendant's infringement of Plaintiffs copyright, or such damages
as to the Couit shall appear proper within the provisions of
the copyright statutes

C. That Defendant be required to pay to Plaintiff compensatory damages for the
injuries sustained by Plaintiff in consequence of the acts herein complained of and that such
damages be trebled because of the willful acts described herein in disregard of Plaintiffs known
rights as aforesaid

D. That Defendant be required to account for and pay over to Plaintiff all gains,
profits and advantages derived by it from the activities herein complained of.

E. That Defendant be required to deliver up for destruction all product packaging,
signs, advertisements brochures, promotional materials and other written materials which bear
the infringing trade dress or any other trade dress confusingly similar to Plaintiffs, together with
all plates, molds, matrices and other means and materials for making or reproducing same.

F. That Defendant be required to pay to Plaintiff all of its litigation expenses

including reasonable attorneys' fees and the costs of this action.

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G. Awarding Plaintiff such other and further relief as the Court may deem equitable

and just.

WINDELS MARX LANE & MITTENDORF, LLP
Attomeys for Plaintiff Top & Top Enterprise, Ltd.

By:
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Telephone: (732) 846-7600
Facsimile: (732) 846-8877

Dated: April 9, 2019

JURY DEMAND

Plaintiff demands a jury trial upon all issues so triable.

By: ‘% ///%:/

Rodman E. Honecker (rhbnecker@windelsmarx.com)
Daniel F. Corrigan (dcorrigan@Windelsmarx.com)

Dated: April 9, 2019

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LOCAL RULE 11.2 CERTIFICATION
l hereby certify that the matter in controversy is not the subject of any other action
pending in any court, or of any pending arbitration or administrative proceeding
I hereby certify that the foregoing statements made by me are true. If any of the

foregoing statements made by me are willfully false, I am subject to punishment

Dated: April 9, 2019 l:J/:»-" ~ ~ »

Rodman Honecker

 

F.R. CIV. P. RULE 7.1(a) DISCLOSUSRE
Plaintiff avers that it has no parent corporation and there is no publicly held corporation

that owns 10% or more of its stocks

(% %
Dated: Api~ii 9, 2019 /" "

Rodman Honecker

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